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                           13
                                                       UNITED STATES DISTRICT COURT
                           14                               DISTRICT OF NEVADA
                           15
                           16        Kamiliha Brewster,                               Case No: 2:16-cv-2793
                           17
                                                           Plaintiff,                 Complaint For Damages Under the
                           18        v.                                               Fair Debt Collection Practices Act,
                                                                                      15 U.S.C. § 1692, et seq.
                           19
                                     Credit Control, LLC,
                           20                                                         Jury Trial Demanded
                                                           Defendant.
                           21
                           22
                           23
                           24
                           25                                             INTRODUCTION
                           26   1.        Kamiliha Brewster (“Plaintiff”), through counsel, brings this action to
                           27             challenge the actions of Credit Control, LLC (“Defendant”) with regard to
                           28

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                            1          attempts by Defendant to unlawfully and abusively collect a debt allegedly
                            2          owed by Plaintiff, causing harm to Plaintiff.
                            3   2.     Plaintiff makes these allegations on information and belief, with the exception
                            4          of those allegations that pertain to a plaintiff, which Plaintiff alleges on
                            5          personal knowledge.
                            6   3.     While many violations are described below with specificity, this Complaint
                            7          alleges violations of the statutes cited in their entirety.
                            8   4.     Unless otherwise stated, all the conduct engaged in by Defendant took place
                            9          in Nevada.
                           10   5.     Any violations by Defendant were knowing, willful, and intentional, and
                           11          Defendant did not maintain procedures reasonably adapted to avoid any such
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                           12          specific violation.
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                           13                                     JURISDICTION AND VENUE
                           14   6.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
                           15          question jurisdiction).
                           16   7.     This action arises out of Defendant’s violations of the Fair Debt Collection
                           17          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                           18   8.     Defendant is subject to personal jurisdiction in Nevada, as it conducts
                           19          business in Nevada and is listed with the Nevada Secretary of State as a
                           20          Foreign Limited-Liability Company doing business in Nevada.
                           21   9.     Venue is proper pursuant to 28 U.S.C. § 1391 because all the conduct giving
                           22          rise to this complaint occurred in Nevada.
                           23   10.    At all times relevant, Defendant conducted business within the State of
                           24          Nevada.
                           25                                                 PARTIES
                           26   11.    Plaintiff is a natural person who resides in Las Vegas, Nevada.
                           27   12.    Plaintiff is a natural person allegedly obligated to pay a debt, and is a
                           28          consumer as that term is defined by 15 U.S.C. § 1692a(3).

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                            1   13.    Defendant is a limited liability company doing business in the State of
                            2          Nevada.
                            3   14.    Upon information and belief, Defendant’s website is http://www.credit-
                            4          control.com/.
                            5   15.    According to Defendant’s website, Defendant “is a full-service collections
                            6          agency.”
                            7   16.    Defendant is a person who uses an instrumentality of interstate commerce or
                            8          the mails in a business the principal purpose of which is the collection of
                            9          debts, or who regularly collects or attempts to collect, directly or indirectly,
                           10          debts owed or due or asserted to be owed or due another and is therefore a
                           11          debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
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                           12                                       FACTUAL ALLEGATIONS
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                           13   17.    Sometime before May 2016, Plaintiff is alleged to have incurred certain
                           14          financial obligations to the original creditor (the “Debt”).
                           15   18.    As it is not relevant or material to this action, Plaintiff currently takes no
                           16          position as to the validity of this alleged Debt.
                           17   19.    The Debt was incurred primarily for personal, family or household purposes
                           18          and is therefore a “debt” as that term is defined by 15 U.S.C. §1692a(5).
                           19   20.    Sometime thereafter, Plaintiff allegedly fell behind in the payments on the
                           20          Debt and defaulted on the Debt.
                           21   21.    On May 13, 2016, Plaintiff, through counsel, sent a letter to the original
                           22          creditor, informing it that Plaintiff was represented by an attorney and gave
                           23          notice that Plaintiff was not to be contacted but for through her attorney. The
                           24          letter gave notice of Plaintiff’s counsel’s contact information, including law
                           25          firm, name, address, phone number, fax number and website.
                           26   22.    Thereafter, Defendant acquired the defaulted debt from the original creditor.
                           27   23.    Upon information and belief, Defendant received from the original creditor
                           28          notice that Plaintiff was represented by an attorney. The May 13, 2016 letter

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                            1          specifically instructed that “This notice imposes on you the duty to advise any
                            2          other agents, employees, or third party representatives, including collectors or
                            3          repossession personnel that you have employed regarding these accounts, or
                            4          that you may employ in the future, of the contents of this letter.”
                            5   24.    After receiving notice that Plaintiff was represented by an attorney, Defendant
                            6          contacted Plaintiff directly in an attempt to collect the Debt.
                            7   25.    For example, Defendant contact Plaintiff, including but not limited to, on
                            8          September 13, 2016 at 1:33 p.m. in an attempt to collect the Debt.
                            9   26.    After Defendant knew that Plaintiff was represented by an attorney,
                           10          Defendant continued its communications in connection with the collection of
                           11          a debt. Consequently, Defendant violated 15 U.S.C. § 1692c(a)(2).
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                           12   27.    After Defendant was notified in writing that Plaintiff wished to have direct
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                           13          communications with Plaintiff to be ceased with respect to the Debt,
                           14          Defendant communicated further with Plaintiff with respect to the Debt.
                           15          Accordingly, Defendant violated 15 U.S.C. § 1692c(c) because none of the
                           16          enumerated exceptions applied.
                           17   28.    Defendant has disregarded Plaintiff’s requests to stop contacting Plaintiff, and
                           18          as such, this action commenced.
                           19   29.    Defendant’s actions were willful and knowing because Defendant knew that
                           20          Plaintiff was represented by an attorney and knew that it prohibited from
                           21          contacting a represented person under the FDCPA.
                           22   30.    As a result of Defendant’s actions, Plaintiff suffered from an invasion of her
                           23          legally protected right to be represented by an attorney. Plaintiff also suffered
                           24          from an invasion of her right to privacy when Defendant violated the law and
                           25          contacted her directly, knowing that she was represented by an attorney.
                           26          Further, Plaintiff suffered from mental anguish and emotional distress as a
                           27          result of Defendant’s continuous and harassing calls when Defendant knew
                           28          that Plaintiff was represented by an attorney. Plaintiff also suffered the risk of

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                            1          harm that Defendant would take advantage of Plaintiff’s lack of knowledge of
                            2          her legal rights when Defendant contacted her directly, instead of through her
                            3          attorney.
                            4                                                 COUNT I
                            5                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                            6                                       15 U.S.C. § 1692, et seq.
                            7   31.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                            8          paragraphs.
                            9   32.    The foregoing acts and omissions constitute numerous and multiple violations
                           10          of the FDCPA, including but not limited to each and every one of the above-
                           11          cited provisions of the FDCPA, 15 U.S.C. § 1692, et seq.
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                           12   33.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
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                           13          actual damages pursuant to 15 U.S.C. § 1692k(a)(1), statutory damages in an
                           14          amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A) and
                           15          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                           16          Defendant.
                           17                                         PRAYER FOR RELIEF
                           18           WHEREFORE, Plaintiff prays that judgment be entered against Defendant,
                           19   and Plaintiff be awarded damages from Defendant, as follows:
                           20          •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                           21          •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                           22                 1692k(a)(2)(A);
                           23          •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                           24                 to 15 U.S.C. § 1692k(a)(3); and
                           25          •      Other relief as the Court deems just and proper.
                           26   ///
                           27   ///
                           28   ///

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                            1                                             JURY DEMAND
                            2   34.    Pursuant to the seventh amendment to the Constitution of the United States of
                            3          America, Plaintiff is entitled to, and demands, a trial by jury.
                            4
                            5           DATED this 5th day of December 2016.
                            6                                                       Respectfully submitted,
                            7
                                                                                    KAZEROUNI LAW GROUP, APC
                            8
                            9                                                       By: /s/ Michael Kind
                                                                                        Michael Kind, Esq.
                           10
                                                                                        7854 W. Sahara Avenue
                           11                                                           Las Vegas, NV 89117
                                                                                        Attorneys for Plaintiff
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